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5                                       UNITED STATES DISTRICT COURT

6                                           DISTRICT OF NEVADA

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      LIBERTY INSURANCE CORPORATION, a
8     foreign corporation, and LM GENERAL
      INSURANCE COMPANY, a foreign corporation,
9                                                         2:19-cv-00457-APG-VCF
                           Plaintiff,                     ORDER
10
      vs.
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      YVONNE BRODEUR, an individual;
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      JERRYBRODEUR, an individual;
      ELIASMENESES,
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                           Defendants.
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            This matter has been set for a settlement conference on November 18, 2020, at 10:00 AM. (ECF
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     No. 45). Due to rising COVID-19 cases, the settlement conference will be conducted by video conference.
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            Accordingly,
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            IT IS ORDERED that the settlement conference will be conducted by video conference at 10:00
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     a.m., November 18, 2020, before U.S. Magistrate Judge, Cam Ferenbach.
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            It is responsibility of the parties to set-up and coordinate the video conference for the
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     settlement conference. Each party may choose to use any video conference software/app to conduct the
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     settlement conference. The court will conduct simultaneous video conferences with each party during the
22
     settlement conference and will need a separate video conference link from each party.
23
            Each party must then send an invitation link for the settlement conference to
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     VCF_Chambers@nvd.uscourts.gov by November 12, 2020. Each party must contact chambers (702-464-
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              Case 2:19-cv-00457-APG-VCF Document 46 Filed 11/06/20 Page 2 of 2




1    5540) by November 12, 2020 and be prepared to do a test run of the video conference with chambers on

2    November 13, 2020.

3             All else as stated in the order setting the settlement conference remains unchanged. (ECF Nos. 41

4    & 45).

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6             DATED this 5th day of November, 2020.
                                                                  _________________________
7                                                                 CAM FERENBACH
                                                                  UNITED STATES MAGISTRATE JUDGE
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